    AO 442 (REV. 12185 Warranffor Arrest)

                                           UNITED STATES DISTRICT COURT
                                            Eastern District of North Carolina

     UNITED STATES OF AMERICA

\
                                         v.                        )v ARRANT FOR ARREST
     STANLEY CARL BURKHARDT
                                                                   CASE NO. 5:07-HC-2125-'D

    To: The United States Marshal and any Authorized United States Office

    YOU ARE HEREBY COl\'IMANDED to arrest STANELY CARL .BURK:~~~~::;;:;ru:rr;;-;:~

    and bring him or her forthwith in compliance with order
                                                                                                         ©~DW§~
                                                                                                       AUG 01 2019        I!!,/
              X     Order Of Court

    CHARGINGHIMOR HER WITH (Brief description of offense):                                  U.S~Marshals Service, EDNC

              FAILURE TO COMPLY WITH THE CONDITIONS OF HIS CONDITIONAL RELEASE

    In violation of Title JJL United States Codes, Sectiori(s) 4248(f)

     PETER A. MOORE, JR.                                                              Clerk of Court
                                                                                       Tille nt lrnling ciilker



                                                                               August 1; 2019 - Raleigh, NC
                Sigm1luro orissulng Orficcr / I>cp11iy Clerk


     RECOMMENDED: DETENTION




                                                               RETURN
                                                                                                I.
     This warrant was received and executedwith the arrest ofthc above named defendant at:




    08/01/2019                                                      Eric Toms, DUSM E/LA
        Date Rcccivcd
                                                                    Name and Title. of Arresting Officer (signature)
     08/01/2019
        Date of Airest
                                                                  : by S. Tanner, USMS E/NC




                                                                                                                         FILED
        Case 5:07-hc-02125-D Document 153 (Ex Parte)                           Filed 08/01/19 Page 1 of :!AUG 0~8                 2019
                                                                                                                  PETER A. MOORE JR CLERK
                                                                                                                  US DIS1'f~COURT: EDNC
                Case 5:07-hc-02125-D Document 156 Filed 08/08/19 Page 1 ofBY1                                          ";Jl!fb     DEP CLK
